        Case 2:09-cr-20094-KHV Document 29 Filed 10/27/16 Page 1 of 3




               IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA, }
         Plaintiff,       }
                          }
         vs.              }                Case No. 09-20094-01-KHV
                          }
HAYWOOD T. MADISON,       }
         Defendant.       }

      MOTION TO TERMINATE SUPERVISED RELEASE TERM

      Haywood Madison asks this Court to terminate his supervised release

term. In support of this request, Counsel states the following:

      1. On February 2, 2010, Haywood Madison was sentenced to 60 months

in prison after pleading guilty to possession with intent to distribute more than

5 grams of a mixture containing cocaine base and possession with intent to

distribute heroin. He was also given 4 years of supervised release.

      2. Mr. Madison was released from BOP custody and began his term of

supervised release on October 31, 2013. During this 3 year period, he has

completed all special conditions of his supervision.

      3. Mr. Madison resides at 2505 Greeley Ave, Kansas City, KS. He has

lived there with his wife and children for nearly 2 years.

      4. Haywood Madison has maintained several full-time jobs since his

release. He started with Woodbridge Mechanical while still in BOP custody.

He worked there from 10/31/13 to 12/21/13. From 12/22/13 to 10/05/14
           Case 2:09-cr-20094-KHV Document 29 Filed 10/27/16 Page 2 of 3




Haywood worked for MJC Electric Company as an apprentice electrician. He

then worked as an electrician at Tradesman Electric Company from 10/08/14

to 5/29/15. For a time after that, Mr. Madison was self-employed at M&M

Cleaning. Since 04/14/16, Mr. Madison has been back at Tradesman Electric

Company as an electrician. He currently makes $16/hr. If not under

supervision and, therefore, free to travel at will, Mr. Madison could work

“prevailing wage” jobs with Tradesman and make up to $42/hr.

      5.     Mr. Madison has remained compliant during his 3 years of

supervision. He has also paid his $200 special assessment.

      6. United States Probation does not object to early termination of Mr.

Madison’s supervised release at this time.

      8. Assistant United States Attorney Trent Krug has no objection to this

request.

      WHEREFORE, it is requested that this Court order Haywood Madison’s

supervised release be terminated early.

                                      Respectfully submitted,

                                      s/ Tim Burdick
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        Case 2:09-cr-20094-KHV Document 29 Filed 10/27/16 Page 3 of 3




                         CERTIFICATE OF SERVICE

      I certify that on October 27, 2016, I electronically filed the foregoing
with the clerk of the court by using the CM/ECF system which will send a
notice of electronic filing to the following:


Trent Krug
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